            Case 1:23-mj-00032-LRV-RDA Document 1 Filed 01/31/23 Page 1 of 1 PageID# 1



                                       UNITED STATES DISTRICT COURT
                                                                  for the
                                                    Eastern District
                                                  __________         of of
                                                              District  Virginia
                                                                           __________

                     United States of America                         )
                                v.                                    )
                                                                      )        Case No. 1:23-MJ-32
                                                                      )
                                                                                            81'(56($/
                 JAMES GORDON MEEK                                    )
                                                                      )
                                                                      )
                           Defendant(s)


                                                  CRIMINAL COMPLAINT
           I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of                February 28, 2020               in the city/county of                   Fairfax

in the         Eastern              District of          Virginia               , the defendant(s) violated:

                        Code Section                                                           Offense Description

  7LWOH8QLWHG6WDWHV&RGH6HFWLRQ D                         7UDQVSRUWDWLRQRIFKLOGSRUQRJUDSK\




           This criminal complaint is based on these facts:
           SEE ATTACHED AFFIDAVIT



           __________________________________________________________________________

            ✔ Continued on the attached sheet.
            ޭ
                        Reviewed by AUSA/SAUSA                                        Complainant’s
                                                                                      C   l i t’ signature
                                                                                                    i t
                   AUSA Zoe Bedell
            _____________________________________                               FBI Special Agent Tonya Sturgill Griffith
                                                                           _____________________________________
                      Printed name and title                                         Printed name and title
   Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by
   telephone                                                  (specify reliable electronic means).



   Date:   01/31/2023                                                           Lindsey Vaala                     Digitally signed by Lindsey Vaala
                                                                                                                  Date: 2023.01.31 15:05:41 -05'00'

                                                                                                       Judge’s signature

   City and state:      Alexandria, Virginia                                   The Honorable Lindsey R., Vaala, U.S. Magistrate Judg
                                                                                                     Printed name and title
